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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


 DAVID MACDONALD,

                Plaintiff,

 vs.                                                   CASE NO. 07-12022

 UNITED PARCEL SERVICE, INC.,                          HON. MARIANNE O. BATTANI

                Defendant.


 DEBORAH L. GORDON, PLC                    DYKEMA GOSSETT PLLC
 Deborah L. Gordon (P27058)                F. Arthur Jones II (P70098)
 Carol A. Laughbaum (P41711)               Bonnie Mayfield (P40275)
 Attorneys for Plaintiff                   Attorneys for Defendant
 33 Bloomfield Hills Parkway, Suite 275    2723 South State Street, Suite 400
 Bloomfield Hills, Michigan 48304          Ann Arbor, Michigan 48104
 248 258 2500 / FAX 248-258-7881           734-214-7607/248-203-0851
 dgordon@deborahgordonlaw.com              fajones@dykema.com
 ______________________________________________________________________________

              PLAINTIFF’S MOTION FOR A STAY PENDING APPEAL
                   WITH RESPECT TO TAXATION OF COSTS

        Plaintiff David MacDonald by his attorneys Deborah L. Gordon, PLC moves for a stay

 pending appeal with respect to taxation of costs in this matter pursuant to this Court’s Bill of Costs

 Handbook and Fed.R.Civ.P. 62 and states as follows:

        1.    On June 5, 2009, this Court issued its Opinion and Order Granting Defendant’s Motion

 for Summary Judgment, and entered a judgment in favor of Defendant.

        2.    On December 11, 2009, this Court issued its Order denying Plaintiff’s Motion for

 Reconsideration of the summary judgment ruling.

        3.     Also on December 11, 2009, the Court Clerk taxed costs against Plaintiff David
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 MacDonald in the amount of $7,670.43.

         4.     Plaintiff is appealing this matter, and pursuant to this Court’s Bill of Costs Handbook,

 §I.B., and Fed. R.Civ. P. 62, moves for a stay pending appeal with respect to any taxation of costs

 against Plaintiff.

         5.     Plaintiff sought concurrence in his motion, which has been denied.

         WHEREFORE , Plaintiff respectfully requests that this Court enter an Order staying this

 matter pending appeal, and postponing any taxation proceedings until the conclusion of appellate

 proceedings.

                                                 Respectfully submitted,

                                                 DEBORAH L. GORDON, PLC
                                                 s/Deborah L. Gordon (P27058)
                                                 Carol A. Laughbaum (P41711)
                                                 Attorneys for Plaintiff
                                                 33 Bloomfield Hills Parkway, Suite 275
                                                 Bloomfield Hills, MI 48304
                                                 (248) 258-2500
                                                 dgordon@deborahgordonlaw.com
 DATED: December 16, 2009




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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


 DAVID MACDONALD,

            Plaintiff,

 vs.                                                CASE NO. 07-12022

 UNITED PARCEL SERVICE, INC.,                       HON. MARIANNE O. BATTANI

            Defendant.


 DEBORAH L. GORDON, PLC                    DYKEMA GOSSETT PLLC
 Deborah L. Gordon (P27058)                F. Arthur Jones II (P70098)
 Carol A. Laughbaum (P41711)               Bonnie Mayfield (P40275)
 Attorneys for Plaintiff                   Attorneys for Defendant
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 ______________________________________________________________________________


                         BRIEF IN SUPPORT OF
            PLAINTIFF’S MOTION FOR A STAY PENDING APPEAL
                 WITH RESPECT TO TAXATION OF COSTS

       Plaintiff relies on the Bill of Costs Handbook and Fed.R.Civ.P. 62 in support of his motion.

                                             Respectfully submitted,

                                             DEBORAH L. GORDON, PLC
                                             s/Deborah L. Gordon (P27058)
                                             Carol A. Laughbaum (P41711)
                                             Attorneys for Plaintiff
                                             33 Bloomfield Hills Parkway, Suite 275
                                             Bloomfield Hills, MI 48304
                                             (248) 258-2500
                                             dgordon@deborahgordonlaw.com
 DATED: December 16, 2009
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on December 16, 2009, I electronically filed the foregoing document
 with the Clerk of the Court using the ECF system, which will send notification of such filing and
 service of said documents to all parties through their counsel of record.

                                                     DEBORAH L. GORDON, PLC
                                                     s/Deborah L. Gordon (P27058)
                                                     Carol A. Laughbaum (P41711)
                                                     Attorneys for Plaintiff
                                                     33 Bloomfield Hills Parkway, Ste. 275
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